Case 1:12-cv-00695-RGA-SRF Document 389 Filed 10/08/21 Page 1 of 2 PageID #: 14865




                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE


    LUIS ANTONIO AGUILAR MARQUINEZ,:
    et al.,

                          Plaintiffs,

                  V.                                     Civil Action No. 12-695-RGA-SRF
                                                                    Consolidated
    DOLE FOOD CO:MPANY, INC., et al.,

                          Defendants.




                                   ORDER APPOINTING EXPERT

           WHEREAS, by order dated August 5, 2021 (D.I. 383), the Court issued an order to show

    cause why the Court should not appoint an expert to assist in determinations of Ecuadorian laws;

           WHEREAS, the parties recommended Professor Angel R. Oquendo (D.I. 387);

           WHEREAS, the Court has discussed the matter with Professor Oquendo, and he consents

    to serve as a court-appointed expert; and the Court concludes that the appointment of Professor

    Oquendo is warranted in the above-captioned case; and

           WHEREAS, the Court concludes that appointment of Professor Oquendo is warranted;

           NOW THEREFORE, this ~               of October, 2021, it is HEREBY ORDERED that:

           1. Scope of duties. Professor Angel R. Oquendo is appointed as an expert to opine on

    matters of Ecuadorian law relevant to the applicability of the Delaware Borrowing Statute. The

    background is set forth in a separate order being entered contemporaneously with this one.

           2. The Report. Professor Oquendo expects that he will be able to submit a report with

    his analysis in approximately six weeks. The report shall advise of any findings he makes. See

    Fed. R. Evid. 706(b). The report will be filed on the docket.
Case 1:12-cv-00695-RGA-SRF Document 389 Filed 10/08/21 Page 2 of 2 PageID #: 14866




            3. Other Obligations. Professor Oquendo understands that any party could choose to

    depose him, and that if there were a hearing on Ecuadorian law, he could be called as a witness

    and be subject to cross-examination. See Fed. R. Evid. 706(b).

            4. Ex parte communications. Professor Oquendo shall not communicate ex parte with

    a party without the consent of all parties. He may communicate ex parte with the Court.

            5. Compensation. Professor Oquendo shall be compensated for his services at his usual

    hourly rate. Others assisting him shall be compensated at their usual hourly rates. Professor

    Oquendo shall send itemized statements for services and expenses directly to counsel for the

    parties after the completion of his report, 1 and he shall receive payment directly from counsel for

    the parties in a timely fashion. The compensation and expenses of Professor Oquendo shall,

    unless otherwise ordered, be shared equally by the parties (that is, 50% by Plaintiffs and 50% by

    the relevant Defendants). Any objections or disputes as to Professor Oquendo 's compensation,

    costs, and/or expenses shall be presented to the Court in a timely application.



                                                               Isl Richard G. Andrews
                                                               United States District Judge




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      Should there be subsequent proceedings, such as a deposition, Professo r Oquendo should promptly send itemized
    statements in relation to them.

                                                      Page 2 of2
